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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA
 and the STATE OF IDAHO,                      Case No. 4:21-cv-00092-BLW

                      Plaintiff,             ORDER

         v.

 P4 PRODUCTION, L.L.C.,

                      Defendant.


      Before the Court is the Government’s Unopposed Motion to Enter Consent

Decree. Dkt. 7. The proposed consent decree, Dkt. 2-1, would resolve claims by

the United States of America, State of Idaho, and Shoshone-Bannock Tribes,

against P4 Production, concerning the Ballard Mine Site. Under the proposed

consent decree P4 Production agrees to perform remedial action set forth in the

2019 Record of Decision, Dkt. 2-2, and pay past and future response costs related

to the Ballard Mine Site.

      The Government published a notice of the proposed consent decree in the

Federal Register, 86 Fed. Reg. 12970 (March 5, 2021), and received six comments,

all of which were supportive of the settlement.




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      Having reviewed the proposed consent decree, the comments filed in

response to the Federal Register notice, and the record herein, the Court finds that

the proposed consent decree is fair, adequate, reasonable, and consistent with the

objectives of the statute being enforced by the action. Accordingly, the Court will

enter the consent decree as the final judgment in this matter.

      IT IS ORDERED that the Government’s Unopposed Motion to Enter

Consent Decree (Dkt. 7) is GRANTED. The Court will file the Consent Decree,

and appendices thereto, concurrently with this order.



                                              DATED: May 21, 2021


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




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